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                                                                               US DISTRICT COURT
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KCB:KM
F. #2024R00262                                                                    * APRIL I, 2025 *
                                                                               BROOKLYN OFFICE
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------X
UNITED STATES OF AMERICA                                  INDICTMENT

       - against -                                        Cr. No. 25-CR-118
                                                          (T. 18, U.S.C., §§ 371, 922(a)(l)(A),
                                                           924(a)(l)(B), 924(a)(l)(D), 922(k),
                                                           924(d)(l ), 933(a)(l), 933(a)(2),
                                                           933(a)(3), 933(b), 934(a)(l), 2 and 3551
ANTHONY COLON and                                          et~.; T. 21, U.S.C., § 853(p); T. 28,
MARK LENWOOD PETERS III, also                              U.S.C., § 246l(c))
  known as "Spade,"                                       Judge Dora Lizette Irizarry
                                                          Magistrate Judge Marcia M . Henry
                         Defendants.

---------------------------X
THE GRAND JURY CHARGES:

                                          COUNT ONE
                                (Fireanns Trafficking Conspiracy)

               I.      In or about and between March 2024 and May 2024, both dates being

approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendants

ANTHONY COLON and MARK LENWOOD PETERS III, also known as "Spade," together

with others, did knowingly and intentionally conspire to (a) ship, transport, transfer, cause to be

transported and otherwise dispose of one or more firearms to another person, in and affecting

interstate and foreign commerce, knowing and having reasonable cause to believe that the use,

canying and possession of a fireann by the recipient would constitute a felony; and (b) receive

from another person one or more fireanns, in and affecting interstate and foreign commerce,
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knowing or having reasonable cause to believe that such receipt would constitute a felony,

contrary to Title 18, United States Code, Sections 933(a)(l) and 933(a)(2).

               (Title 18, United States Code, Sections 933(a)(3), 933(b) and 3551 et seg.)

                                          COUNTTWO
                                      (Fireanns Trafficking)

               2.      In or about and between March 2024 and May 2024, both dates being

approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendan

ANTHONY COLON and MARK LENWOOD PETERS III, also known as "Spade," together

with others, did knowingly and intentionally (a) ship, transport, transfer, cause to be transported

and otherwise dispose of one or more fireanns to another person, in and affecting interstate and

foreign commerce, knowing and having reasonable cause to believe that the use, carrying and

possession of a fireann by the recipient would constitute a felony; and (b) receive from another

person one or more firearms, in and affecting interstate and foreign commerce, knowing or

having reasonable cause to believe that such receipt would constitute a felony.

               (Title 18, United States Code, Sections 933(a)(l), 933(a)(2), 933(b), 2 and 3551 et



                                        COUNT THREE
                            (Unlicensed Firearms Dealing Conspiracy)

               3.      In or about and between March 2024 and May 2024, both dates being

approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendants

ANTHONY COLON and MARK LENWOOD PETERS III, also known as "Spade," together

with others, did knowingly and willfully conspire to engage in the business of dealing in firearms
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without being licensed importers, licensed manufacturers or licensed dealers, and in the course of

such business, to ship, transport and receive one or more firearms in interstate and foreign

commerce, contrary to Title 18, United States Code, Section 922(a)(I )(A).

               4.      In furtherance of the conspiracy and to effect its objects, within the

Eastern District of New York and elsewhere, the defendants

                         NTHONY COLON and MARK LENWOOD PETERS III, together

with others, did commit and cause the commission of, among others, the following:

                                          OVERT ACTS

                       (a)    On or about March 28, 2024, COLON sold two firearms to an

undercover law enforcement officer ("UC- I") in Queens, New York.

                       (b)    On or about April 3, 2024, .....aand COLON sold four

firearms, two of which had obliterated serial numbers, to UC-I in Queens, New York.

                       (c)    On or about April 9, 2024, COLON and PETERS sold five

firearms, one of which had previously been reported stolen, to UC-1 and another undercover law

enforcement officer ("UC-2") in Queens, New York.

                       (d)    On or about April 29, 2024, .....aand COLON sold five

firearms, two of which had obliterated serial numbers, to UC-1 in Queens, New York.

                       (e)    On or about May 23, 2 0 2 4 , ~ n d COLON sold 10

firearms, three of which had obliterated serial numbers and one of which had previously been

reported stolen, to UC-I and UC-2 in Queens, New York.

               (Title 18, United States Code, Sections 371 and 3551 et seq.)
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                                        COUNTFOUR
                                 (Unlicensed Firearms Dealing)

               5.     In or about and between March 2024 and May 2024, both dates being

approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendants

ANTHONY COLON and MARK LENWOOD PETERS III, also known as "Spade," together

with others, each not being a licensed importer, licensed manufacturer or licensed dealer of

firearms, did knowingly and intentionally engage in the business of dealing in firearms, and in

the course of such business did ship, transport and receive one or more firearms in interstate and

foreign commerce.

               (Title 18, United States Code, Sections 922(a)(l )(A), 924(a)(l )(D), 2 and 3551 et



                                         COUNT FIVE
                    (Possession of a Defaced Firearm - Savage Arms Stance)

               6.     On or about April 3, 2024, within the Eastern District of New York and

elsewhere, the defendant ANTHONY COLON, together with others, did knowingly and

intentionally possess a firearm, to wit: one Savage Arms model Stance 9mm caliber pistol,

knowing that such firearm had the manufacturer's serial number removed, obliterated and

altered, and which firearm had been shipped and transported in interstate commerce.

               (Title 18, United States Code, Sections 922(k), 924(a)(l )(B), 2 and 3551 et~-)

                                         COUNT SIX
                (Possession of a Defaced Firearm - DPMS Panther Arms DA-15)

               7.     On or about April 3, 2024, within the Eastern District of New York and

elsewhere, the defendant ANTHONY COLON, together with others, did knowingly and

intentionally possess a firearm, to wit: one DPMS Panther Arms model DA-15 rifle, knowing
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that such firearm had the manufacturer's serial number removed, obliterated and altered, and

which firearm had been shipped and transported in interstate commerce.

               (Title 18, United States Code, Sections 922(k), 924(a)(l)(B), 2 and 3551 et seq.)

                                       COUNTSEVEN
                (Possession of a Defaced Firearm - Diamondback Arms DB-15)

               8.     On or about April 29, 2024, within the Eastern District ofNew York and

elsewhere, the defendant ANTHONY COLON, together with others, did knowingly and

intentionally possess a firearm, to wit: one Diamondback Arms model DB-15 rifle, knowing that

such firearm had the manufacturer's serial number removed, obliterated and altered, and which

firearm had been shipped and transported in interstate commerce.

               (Title 18, United States Code, Sections 922(k), 924(a)(l)(B), 2 and 3551 et seg.)

                                       COUNT EIGHT
             (Possession of a Defaced Firearm - Anderson Manufacturing AM-15)

               9.     On or about April 29, 2024, within the Eastern District ofNew York and

elsewhere, the defendant ANTHONY COLON, together with others, did knowingly and

intentionally possess a firearm, to wit: one Anderson Manufacturing model AM-15 rifle,

knowing that such firearm had the manufacturer's serial number removed, obliterated and

altered, and which firearm had been shipped and transported in interstate commerce.

               (Title 18, United States Code, Sections 922(k), 924(a)(l)(B), 2 and 3551 et seq.)

                                        COUNTNINE
               (Possession of a Defaced Firearm -Palmetto State Armory PA-15)

               I 0.   On or about May 23, 2024, within the Eastern District of New York and

elsewhere, the defendant ANTHONY COLON, together with others, did knowingly and

intentionally possess a firearm, to wit: one Palmetto State Armory model PA-15 rifle, knowing
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that such firearm had the manufacturer's serial number removed, obliterated and altered, and

which firearm had been shipped and transported in interstate commerce.

               (Title 18, United States Code, Sections 922(k), 924(a)(l)(B), 2 and 3551 et seq.)

                                          COUNT TEN
                       (Possession of a Defaced Firearm - 1.0. Inc. Sporter)

               11.     On or about May 23, 2024, within the Eastern District of New York and

elsewhere, the defendant ANTHONY COLON, together with others, did knowingly and

intentionally possess a firearm, to wit: one 1.0. Inc. model Sporter 7 .62mm caliber pistol,

knowing that such firearm had the manufacturer's serial number removed, obliterated and

altered, and which firearm had been shipped and transported in interstate commerce.

               (Title 18, United States Code, Sections 922(k), 924(a)(l )(8), 2 and 3551 et seg.)

                                        COUNT ELEVEN
                     (Possession of a Defaced Firearm - Century Arms VSKA)

               12.     On or about May 23, 2024, within the Eastern District ofNew York and

elsewhere, the defendant ANTHONY CO LON, together with others, did knowingly and

intentionally possess a firearm, to wit: one Century Arms VSKA model 7 .62mm caliber pistol,

knowing that such firearm had the manufacturer's serial number removed, obliterated and

altered, and which firearm had been shipped and transported in interstate commerce.

               (Title 18, United States Code, Sections 922(k), 924(a)(l )(B), 2 and 3551 et seq.)

                           CRIMINAL FORFEITURE ALLEGATION
                              AS TO COUNTS ONE AND TWO

               13.     The United States hereby gives notice to the defendants that, upon their

conviction of either of the offenses charged in Counts One and Two, the government will seek

forfeiture in accordance with Title 18, United States Code, Sections 924(d)(l) and 934(a)(l), and

Title 28, United States Code, Section 246l(c), which require the forfeiture of: (a) any property
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constituting, or derived from, any proceeds obtained, directly or indirectly, as the result of such

offenses; (b) any property used, or intended to be used, in any manner or part, to commit, or to

facilitate the commission of, such offenses; and (c) any firearm or ammunition involved in or

used in any violation of any criminal law of the United States.

                14.    If any of the above-described forfeitable property, as a result of any act or

omission of the defendants:

                       (a)      cannot be located upon the exercise of due diligence;

                       (b)      has been transferred or sold to, or deposited with, a third party;

                       (c)      has been placed beyond the jurisdiction of the court;

                        (d)     has been substantially diminished in value; or

                        (e)     has been commingled with other property which cannot be divided

without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

seek forfeiture of any other property of the defendants up to the value of the forfeitable property

described in this forfeiture allegation.

                (Title 18, United States Code, Sections 924(d)(l) and 934(a)(l); Title 21, United

States Code, Section 853(p); Title 28, United States Code, Section 2461(c))

                          CRIMINAL FORFEITURE ALLEGATION
                         ASTOCOUNTSTHREETHROUGHELEVEN
                15.     The United States hereby gives notice to the defendants that, upon their

conviction of any of the offenses charged in Counts Three through Eleven, the government will

seek forfeiture in accordance with Title 18, United States Code, Section 924(d)( 1) and Title 28,

United States Code, Section 2461 (c), which require the forfeiture of any firearm or ammunition
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     involved in or used in any knowing violation of Title 18, United States Code, Section 922 or

     Section 924.

                     16.     If any of the above-described forfeitable property, as a result of any act or

     omission of the defendants:

                            (a)     cannot be located upon the exercise of due diligence;

                             (b)     has been transferred or sold to, or deposited with, a third party;

                             (c)     has been placed beyond the jurisdiction of the court;

                             (d)     has been substantially diminished in value; or

                             (e)     has been commingled with other property which cannot be divided

     without difficulty;

     it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

     seek forfeiture of any other property of the defendants up to the value of the forfeitable property

     described in this forfeiture allegation.

                     (Title I 8, United States Code, Section 924(d)(l ); Title 21, United States Code,

     Section 853(p); Title 28, United States Code, Section 246 l(c))

                                                                           A TRUE BILL
                                                                    I\    r
                                                                           /s/



8ep W~fiiS. A'~ ACISA
fl   JOHN J. DUR M
     UNITED STATES ATTORNEY
     EASTERN DISTRICT OF NEW YORK
